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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                                                PLAINTIFF

v.                                                  CAUSE NO. 1:08CR92-LG-RHW

JOHN RILEY                                                           DEFENDANT

                 SUPPLEMENTAL ORDER ON REMAND
              FROM THE FIFTH CIRCUIT COURT OF APPEALS

      BEFORE THE COURT is the [87] Order to Remand entered by the Fifth

Circuit Court of Appeals on September 8, 2020. See U.S. v. Riley, No. 19-60941.

The matter has been remanded “for the limited purpose of allowing the district

court to explain its reasons for the denial.” Id at 2.

      Through appellate counsel, John Riley has appealed this Court’s denial of his

Motion for a Sentencing Reduction under the provisions of the First Step Act. In its

Order to Remand the Fifth Circuit explained that “the district court denied the

motion in an order without giving any reasons.” Id. The appellate panel’s

statement is understandable. It could have reached no other conclusion when

viewed through the lens of the inaccurate and incomplete record set before it on

appeal.1 However, as explained in more detail below, this Court’s reason for denial



1
 In the appellant’s brief, counsel for the defendant represented to the appellate
court that the “district court failed to make a complete review by issuing a ‘checked
box’ order, instead of an explanation or analysis of the merits.” See Br. Appellant,
U.S. V. Riley (No. 19-60941) at 10. On April 24, 2020, appellant filed the required
Record Excerpts. Although exhibit 5 of the Record Excerpts purports to be this
Court’s order to deny Riley’s Motion for sentence reduction, it is actually a prior
order granting relief on a different motion. In fact, except for the docket
annotations at ROA 318 and 417 in the lower court’s record, the full text of this

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of the Motion for Sentencing Reduction is stated in the original order denying the

Motion.

      On December 13, 2019, after review of the record, briefs and arguments of

counsel, this Court denied Riley’s Motion for another sentence reduction. See Order

Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2), ECF

Nos. 79-80, ROA 318 and 417. The signed Order is indeed a form order (AO 247

Rev. 3/19). But it is more than a “check box”. At page two, ECF No. 80, ROA 417,

Section III. the Order states as follows:

      III. FACTORS CONSIDERED UNDER USSG § 1B1.10AND U.S.C. § 3553(a)
      (See Chavez-Meza v. United States, 138 S.Ct. 1959 (2018)). As this
      defendant’s sentence has previously been reduced by all applicable guideline
      amendments, the defendant’s motion is denied. .

      The Order referenced above is a two-page order. Page one can be found at

ECF No. 79, ROA 318. The top portion of page one includes the following notice:

“Page 1 of 2 (Page 2 Not for Public Disclosure)”. Page two can be found at ECF No.

80, ROA 417 and is a “restricted document”; thus only court authorized personnel

may have access.2

      This Court cannot tell whether the panel was provided a full text copy of the

original two-page Order. If so, it does not seem to appear in the appellate record

excerpts, nor is the salient language found on page two of the Court’s order


Court’s order denying the Motion for sentence reduction at issue here does not
appear in the any of the record excerpts on appeal.
2
 According to the USPO, page two is restricted from public view because it routinely
contains guideline calculations. In addition, page two may contain confidential
information regarding any sentence reduction granted by the court pursuant to Fed.
R. Crim. P. 35 or USSG § 5K1.1.

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referenced in either the appellant or appellee’ s brief. Perhaps, since it is a two-part

order, and page two is restricted, the parties simply missed it. However, in an

abundance of caution,

      IT IS ORDERED AND ADJUDGED that this Court adopts and restates its

prior findings regarding the defendant’s [73] Motion to Reduce Sentence. After

consideration of the record, the briefs and arguments of counsel, and applicable law,

it is the finding of the Court that the defendant has previously received all of the

benefits of the applicable guideline amendments and as such the Motion is denied.

      IT IS FURTHER ORDERED AND ADJUDGED that the Clerk of Court

shall transmit a copy of this Order to the United States Court of Appeals for the

Fifth Circuit.

      SO ORDERED AND ADJUDGED this the 9th day of September, 2020.

                                                s/   Louis Guirola, Jr.
                                                LOUIS GUIROLA, JR.
                                                UNITED STATES DISTRICT JUDGE




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